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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STANLEY E. KORNAFEL,                          :
     Plaintiff,                               :
                                              :
        v.                                    :       CIVIL ACTION NO. 20-CV-4503
                                              :
U.S. POSTAL SERVICE, et al.,                  :
      Defendants.                             :

                                              ORDER

        AND NOW, this 18th day of September, 2020, upon consideration of Plaintiff Stanley E.

Kornafel’s pro se Complaint (ECF No. 1), it is ORDERED that:

        1.      The Complaint is DEEMED filed.

        2.      The Complaint is DISMISSED as malicious pursuant to 28 U.S.C. §

1915(e)(2)(B)(i) for the reasons discussed in the Court’s Memorandum.

        3.      The Clerk of Court is DIRECTED to close this case.

        4.      No later than fourteen days from the date of the mailing of this Order, Kornafel

shall SHOW CAUSE by filing a “Response to Show Cause Order” not to exceed ten pages

stating why the Court should not enjoin him from filing any more civil actions concerning the

identical, untimely allegations he has raised in this case as well as Kornafel v. U.S. Postal Serv.,

Civ. A. No. 19-2292; Kornafel v. U.S. Postal Serv., Civ. A. No. 99-6416; Kornafel v. United

States, Civ. A. No. 00-3250; Kornafel v. U.S. Government, Civ. A. No. 96-7436; and Kornafel v.

U.S. Government, Civ. A. No. 95-6670; namely that the litigation and settlement of a March 11,

1992 motor vehicle accident involving a postal service vehicle resulted in an abuse of process,

deceit, bias, and other irregularities.
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       5.      Should Kornafel fail to file a Response as directed by Paragraph 4, the Court shall

without any further notice enter an order enjoining Kornafel from filing any future similar

lawsuits without prior permission of the Court.

                                             BY THE COURT:

                                             /s/ C. Darnell Jones, II
                                             C. Darnell Jones, II J.




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